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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------x
SECURITIES AND EXCHANGE COMMISSION :
                                                                :
                           Plaintiff,                           :
                                                                :   Case No. 1:10-CV-457
         vs.                                                    :   (GLS/CFH)
                                                                :
McGINN, SMITH & CO., INC.,                                      :
McGINN, SMITH ADVISORS, LLC                                     :
McGINN, SMITH CAPITAL HOLDINGS CORP., :
FIRST ADVISORY INCOME NOTES, LLC,                               :
FIRST EXCELSIOR INCOME NOTES, LLC,                              :
FIRST INDEPENDENT INCOME NOTES, LLC, :
THIRD ALBANY INCOME NOTES, LLC,                                 :
TIMOTHY M. McGINN, AND                                          :
DAVID L. SMITH, GEOFFREY R. SMITH,                              :
Individually and as Trustee of the David L. and                 :
Lynn A. Smith Irrevocable Trust U/A 8/04/04,                    :
LAUREN T. SMITH, and NANCY McGINN,                              :
                                                                :
                           Defendants,                          :
                                                                :
LYNN A. SMITH and                                               :
NANCY McGINN,                                                   :
                                                                :
                           Relief Defendants. and               :
                                                                :
GEOFFREY R. SMITH, Trustee of the                               :
David L. and Lynn A. Smith Irrevocable                          :
Trust U/A 8/04/04,                                              :
                                                                :
                           Intervenor.                          :
---------------------------------------------------------------
                           NOTICE OF TWENTIETH INTERIM
                     APPLICATION OF PHILLIPS LYTLE LLP AND THE
                     RECEIVER FOR ALLOWANCE OF COMPENSATION
                          AND REIMBURSEMENT OF EXPENSES


                  PLEASE TAKE NOTICE that upon the Twentieth Interim Application of Phillips

Lytle LLP and the Receiver for Allowance of Compensation and Reimbursement of Expenses

(“Application”), Phillips Lytle LLP (“Phillips Lytle”) will move before the Hon. Christian F.

Hummel, United States Magistrate Judge, United States District Court for the Northern District

of New York, James T. Foley - U.S. Courthouse, 445 Broadway, Albany, New York 12207-

2924, on a date to be scheduled by the Court, seeking an Order to be entered approving the
     Case 1:10-cv-00457-GLS-CFH Document 1223 Filed 03/18/22 Page 2 of 5




Application of Phillips Lytle and the Receiver for interim compensation and reimbursement of

expenses for the four-month period from October 1, 2021 through January 31, 2022 in

connection with legal services performed for William J. Brown, Esq., the Receiver for the

McGinn Smith Entities and the services of the Receiver. No oral argument is requested.

               PLEASE TAKE FURTHER NOTICE that attached is the cover sheet for the

Application, indicating the nature and dates of the services rendered by Phillips Lytle and the

Receiver, as well as the total amount sought by Phillips Lytle and the Receiver for interim

compensation and reimbursement of expenses. The complete Application of Phillips Lytle is

filed with the United States District Court and will be available for review electronically at the

Office of the Clerk, United States District Court, Northern District of New York, James T. Foley

U.S. Courthouse, 445 Broadway, Room 509, Albany, New York 12207-2924 or online, at the

Court’s website (www.nynd.uscourts.gov), or at the website of the Receiver

(www.mcginnsmithreceiver.com). Copies can also be obtained upon written request to Phillips

Lytle.

               PLEASE TAKE FURTHER NOTICE that objections, if any, to the relief

requested in the Application must be made in writing in accordance with the Federal Rules of

Civil Procedure and the Local Rules for the United States District Court for the Northern District

of New York.

Dated: March 17, 2022
                                   PHILLIPS LYTLE LLP

                                   By   /s/ William J. Brown
                                      William J. Brown (Bar Roll #601330)
                                      Catherine N. Eisenhut (Bar Roll #520849)
                                   Attorneys for Receiver
                                   Omni Plaza
                                   30 South Pearl Street
                                   Albany, New York 12207
                                   Telephone No. (518) 472-1224


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                      and

                      One Canalside
                      125 Main Street
                      Buffalo, New York 14203
                      Telephone No.: (716) 847-8400




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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------x
SECURITIES AND EXCHANGE COMMISSION :
                                                                :
                           Plaintiff,                           :
                                                                :   Case No. 1:10-CV-457
         vs.                                                    :   (GLS/CFH)
                                                                :
McGINN, SMITH & CO., INC.,                                      :
McGINN, SMITH ADVISORS, LLC                                     :
McGINN, SMITH CAPITAL HOLDINGS CORP., :
FIRST ADVISORY INCOME NOTES, LLC,                               :
FIRST EXCELSIOR INCOME NOTES, LLC,                              :
FIRST INDEPENDENT INCOME NOTES, LLC, :
THIRD ALBANY INCOME NOTES, LLC,                                 :
TIMOTHY M. McGINN, AND                                          :
DAVID L. SMITH, GEOFFREY R. SMITH,                              :
Individually and as Trustee of the David L. and                 :
Lynn A. Smith Irrevocable Trust U/A 8/04/04,                    :
LAUREN T. SMITH, and NANCY McGINN,                              :
                                                                :
                           Defendants,                          :
                                                                :
LYNN A. SMITH and                                               :
NANCY McGINN,                                                   :
                                                                :
                           Relief Defendants. and               :
                                                                :
GEOFFREY R. SMITH, Trustee of the                               :
David L. and Lynn A. Smith Irrevocable                          :
Trust U/A 8/04/04,                                              :
                                                                :
                           Intervenor.                          :
---------------------------------------------------------------

                   FACE SHEET PURSUANT TO LOCAL RULE 2016-1
               FOR TWENTIETH INTERIM APPLICATION BY ATTORNEYS
               FOR RECEIVER AND THE RECEIVER FOR ALLOWANCE OF
                COMPENSATION AND REIMBURSEMENT OF EXPENSES

APPLICANT’S NAME:                                     Phillips Lytle LLP and William J. Brown, as
                                                      Receiver

APPLICANT'S ADDRESS:                                  Omni Plaza
                                                      30 South Pearl Street
                                                      Albany, New York 12207
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DATE APPLICANT APPOINTED:             April 20, 2010

NATURE OF SERVICES RENDERED:          Legal services rendered for William J. Brown,
                                      Receiver, with respect to McGinn, Smith & Co.,
                                      Inc., et al. and for Receiver services and expenses
                                      for the period from October 1, 2021 through
                                      January 31, 2022

AMOUNT OF COMPENSATION                $14,601.62 (including Phillips Lytle and Receiver’s
SOUGHT FOR FEES FROM                  fees at pre-arranged discounted hourly rates)
OCTOBER 1, 2021 THROUGH               at 7.5% for Phillips Lytle and $225 rather
JANUARY 31, 2022                      than $540.00 per hour for the Receiver

AMOUNT OF COMPENSATION                $128.14
SOUGHT FOR EXPENSES FROM
OCTOBER 1, 2021 THROUGH
JANUARY 31, 2022

Dated: March 17, 2022

                            PHILLIPS LYTLE LLP



                            By    /s/ William J. Brown
                                       William J. Brown (Bar Roll #601330)
                                       Catherine N. Eisenhut (Bar Roll #520849)
                            Attorneys for the Receiver
                            Omni Plaza
                            30 South Pearl Street
                            Albany, New York 12207
                            Telephone No. (518) 472-1224

                            and

                            One Canalside
                            125 Main Street
                            Buffalo, New York 14203
                            Telephone No.: (716) 847-8400

Doc #10215780.1




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